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14 INC. and SAMSUNG
   TELECOMMUNICATIONS AMERICA, LLC
15

16                             UNITED STATES DISTRICT COURT

17                NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

18

19 APPLE INC., a California corporation,          CASE NO. 11-cv-01846-LHK

20                Plaintiff,                      SAMSUNG’S NOTICE OF MOTION AND
                                                  MOTION TO STRIKE EXPERT
21         vs.                                    TESTIMONY BASED ON UNDISCLOSED
                                                  FACTS AND THEORIES;
22 SAMSUNG ELECTRONICS CO., LTD., a
   Korean business entity; SAMSUNG                MEMORANDUM OF POINTS AND
23 ELECTRONICS AMERICA, INC., a New               AUTHORITIES IN SUPPORT THEREOF
   York corporation; SAMSUNG
24 TELECOMMUNICATIONS AMERICA,                    Date: June 26, 2012
   LLC, a Delaware limited liability company,     Time: 10:00 a.m.
25                                                Place: Courtroom 5, 4th Floor
                 Defendants.                      Judge: Hon. Paul S. Grewal
26

27
                                                PUBLIC REDACTED VERSION
28
                                                                      Case No. 11-cv-01846-LHK
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 1                               NOTICE OF MOTION AND MOTION
 2           TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

 3           PLEASE TAKE NOTICE that on Tuesday, June 26, 2012, at 10:00 a.m., or as soon

 4 thereafter as the matter may be heard by the Honorable Paul S. Grewal in Courtroom 5, United

 5 States District Court for the Northern District of California, Robert F. Peckham Federal Building,

 6 280 South 1st Street, San Jose, CA 95113, Samsung Electronics Co., Ltd., Samsung Electronics

 7 America, Inc., and Samsung Telecommunications America, LLC (collectively “Samsung”) will,

 8 and hereby does, move the Court for an order striking portions of Apple’s expert reports that rely

 9 on previously undisclosed facts or that assert new theories of infringement or invalidity.

10           This Motion is made pursuant to Fed. R. Civ. P. 26 and 37, and Patent Local Rules 3-1 and

11 3-3, and is made on the grounds that Apple expert reports rely on facts and theories that Apple

12 improperly failed to disclose during discovery, causing prejudice to Samsung in its ability to

13 prepare for trial.

14           This motion is based on this Notice of Motion, the supporting Memorandum of Points and

15 Authorities, the Declarations of Diane C. Hutnyan, Christopher E. Price, Jeffrey Johnson, and

16 James J. Ward dated May 17, 2012, together with all accompanying exhibits, all pleadings on file

17 in this action, and such other evidence or argument as may be presented at or before the time this

18 Motion is deemed submitted by the Court, and such matters of which this Court may take judicial

19 notice.

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 1 DATED: May 17, 2012               QUINN EMANUEL URQUHART &
                                     SULLIVAN, LLP
 2

 3

 4                                     By/s/ Victoria F. Maroulis
                                         Charles K. Verhoeven
 5                                       Kevin P.B. Johnson
                                         Victoria F. Maroulis
 6                                       Michael T. Zeller
 7
                                         Attorneys for SAMSUNG ELECTRONICS CO.,
 8                                       LTD., SAMSUNG ELECTRONICS AMERICA,
                                         INC. and SAMSUNG
 9                                       TELECOMMUNICATIONS AMERICA, LLC
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 1         MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF
 2 I.       PRELIMINARY STATEMENT
 3          Although the Federal Rules of Civil Procedure and the Patent Local Rules establish clear

 4 guidelines for the disclosure of contentions and facts supporting expert opinions, Apple has failed

 5 to comply with both in this case. Apple’s experts have widely relied on materials that were never

 6 produced to Samsung during fact discovery, and cited evidence that Samsung saw for the first

 7 time when it reviewed the expert reports.

 8          Dr. Maharbiz, Apple’s technical expert on its ‘607 patent, predicates the bulk of his

 9 opinion on scanning electron microscope tests. But Apple refused to disclose even the very

10 existence of these tests until it was impossible for Samsung to investigate critical facts relating to

11 them and the conclusions reached. Likewise, Dr. Balakrishnan, another one of Apple’s patent

12 infringement experts, examined Samsung devices to reach his infringement opinion on Apple’s

13 ‘381 patent. However, not only could he not name what version of the relevant software he

14 examined, neither he nor Apple ever produced the devices he examined for review by Samsung.

15 In a similar way, Apple’s failure to disclose licensing agreements that its damages expert, Mr.

16 Musika, relied on in his report deprived Samsung of any ability to test Apple’s conclusory

17 representations about its licensing agreement payments, and has left Samsung with no ability to

18 investigate or properly rebut his conclusions on reasonable royalties, a central plank in any

19 reasonable royalty analysis.     Apple has kept this critical information from Samsung despite

20 unambiguous obligations to produce it under the Federal Rules and the Court’s Scheduling Order,

21 all to Samsung’s prejudice.

22          Apple has similarly deviated from the Patent Local Rules’ requirement that infringement

23 contentions be disclosed well in advance of the close of discovery. For example, Dr. Maharbiz

24 offers a theory of infringement that was not disclosed in Apple’s infringement contentions. Apple

25 experts have also disclosed non-infringement and infringement theories that were not disclosed in

26 response to Samsung interrogatories. For example, Apple’s expert on Samsung’s ‘711 patent

27 introduced an entirely new non-infringement theory that was not disclosed in response to a

28 Samsung interrogatory seeking all such theories. Rather than follow the rules, Apple chose to

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 1 disclose new infringement theories after the close of fact discovery.           But if infringement

 2 contentions can be changed at will after the close of fact discovery, then parties have every

 3 incentive to invert the discovery process, and delay the assertion of true theories until after fact

 4 discovery closes for strategic gain. This is the exact path Apple chose to follow.

 5          Apple’s conduct is a clear violation of a host of discovery rules that set out unambiguous

 6 obligations to make discovery an orderly matter. Adherence to these rules is even more critical in

 7 a highly expedited proceeding like this one. Because Apple has violated its discovery obligations

 8 under the applicable Federal Rules of Civil Procedure and the Patent Local Rules, and presented

 9 novel facts from eight experts and two entirely new contentions that have never before been

10 disclosed to Samsung, all to Samsung’s extreme prejudice, the Court should strike those portions

11 of Apple’s expert reports that rely on the previously undisclosed facts and purport to assert new

12 theories regarding invalidity or infringement.

13 II.      STATEMENT OF RELEVANT FACTS
14          A.     Apple’s Initial Disclosures and Infringement Contentions
15          Apple was obligated under the Federal Rules, the Patent Local Rules, and the Court’s
16 Scheduling Order to disclose all relevant facts and contentions to Samsung pursuant to the

17 following schedule:

18          •      August 26, 2011: Apple serves its infringement contentions

19          •      March 8, 2012: Fact discovery closes
20          •      March 22, 2012 and April 16, 2012: Experts serve their reports and rebuttals,
21                 respectively, based on the disclosed facts.
22 Dkt. No. 187 (Aug. 25, 2011 Scheduling Order); see Fed. R. Civ. P. 26(a); Patent Local R. 3-1.

23          These rules exist to ensure that the parties will not be sandbagged with last-minute
24 disclosures or game-changing alterations in theories of the case. See Fed. R. Civ. P. 37(c)(1) (any

25 party “fail[ing] to provide information . . . as required by Rule 26(a) or (e) . . . is not allowed to

26 use that information or witness to supply evidence on a motion, at a hearing, or at a trial”).

27 Similarly, Patent Local Rule 3-1 explicitly requires that parties identify all infringement

28 contentions they intend to assert by no later than 14 days after the Case Management Conference.

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 1 The parties cannot change their contentions without seeking leave of Court and showing good

 2 cause. See Patent Local R. 3-1, 3-3, 3-6 (“Amendment of the Infringement Contentions [] may be

 3 made only by order of the Court upon a timely showing of good cause.”).

 4          Apple served its infringement contentions in August 2011. (See May 17, 2012 Ward

 5 Declaration (“Ward Dec.”), Ex. A (Apple’s Disclosure of Asserted Claims & Infringement

 6 Contentions, Aug. 26, 2011).) These contentions purported to set forth how Samsung’s devices

 7 allegedly infringe Apple’s patents. (See id., Ex. A, at 2 (listing which “Accused Instrumentalities”

 8 infringe Apple’s asserted patents).) By August 26 of last year, Apple’s disclosures should have

 9 laid out the entirety of its arguments in this case.

10          In addition, Samsung served Apple with detailed requests for production (“RFP”) and

11 interrogatories. For example, Samsung’s RFPs sought:

12 •        For each person You intend to rely on as an expert witness, all DOCUMENTS concerning
            . . . (d) each and every DOCUMENT the expert has reviewed or relied upon in
13          formulating his or her opinion and each and every DOCUMENT the expert will assert
            supports each of his or her opinions and each fact; and (e) all reports prepared by the
14
            expert. (RFP No. 47.)
15
     •      All DOCUMENTS concerning the infringement or non-infringement of any of the claims
16          of any of the APPLE IP by any entity or person. (RFP No. 122.)
17 •        All DOCUMENTS regarding any instrumentalities that APPLE contends or has contended
            infringe any of the APPLE IP. (RFP No. 123.)
18

19 •        All DOCUMENTS and things relating to APPLE’S analysis, consideration, or evaluation
            of whether any SAMSUNG product, device, apparatus, method, process, or system
20          infringes any of the APPLE IP, including, without limitation, all documents and things
            concerning any test, evaluation, or reverse engineering of any SAMSUNG product, device,
21          apparatus, method, process, or system. (RFP No. 127.)
22
     (Ward Dec., Ex. B (Samsung’s First Set of Requests for Production to Apple, Aug. 3, 2011).)
23
     Samsung’s Interrogatories were similarly detailed, requiring that Apple:
24
     •      IDENTIFY all facts RELATING TO studies, including formal or informal analysis,
25          investigation, surveys, focus groups, consumer research, or other information or reports
26          that relate to, support, or refute YOUR claims in this action, including, for each such study,
            when it was commissioned, conducted, and completed, by whom it was conducted, and its
27          conclusions. (Interrogatory No. 16.)

28 (Ward Dec., Ex. C (Samsung’s First Set of Interrogatories to Apple, Aug. 3, 2011).)

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 1          Apple’s responses to these and Samsung’s other discovery requests should have disclosed

 2 all of the facts upon which Apple’s experts base their opinions. Expert opinions were submitted

 3 after the close of fact discovery because they depend on facts disclosed during fact discovery.

 4          B.      Apple’s Experts Rely on Facts That Were Withheld in Discovery1
 5          Apple’s experts rely on a host of facts that were not disclosed during fact discovery,

 6 despite being directly responsive to Samsung’s discovery requests. Many of these facts serve as

 7 the foundation for their opinions. The first time that Samsung saw these materials was when

 8 Apple’s experts used them in their reports or discussed them during their deposition.

 9                  1.     Dr. Michel Maharbiz

10          On March 22, 2012, Apple served Dr. Maharbiz’s report, which contains his infringement
11 opinions on Apple’s ‘607 patent. To support his contention that Samsung infringed the ‘607

12 patent, Dr. Maharbiz relies almost exclusively on two Scanning Electron Microscopy (“SEM”)

13 Laboratory Analysis Reports (“SEM Reports”) dated March 9, 2012, which were apparently

14 prepared by an individual named Ian Ward. (See, e.g., Ward Dec., Ex. D (Maharbiz Report at 11,

15 12, 16, 18, 23, 28, 30, 31, 44, 57, 66).) These Reports include purported analyses of two Samsung

16 products – the Galaxy Tab 7.0 and Galaxy Tab 10.1. The SEM Reports were included as exhibits

17 to Dr. Maharbiz’s expert report. (See id. at Exs. C, D to Maharbiz Report). Dr. Maharbiz relied

18 on the SEM Reports as purported proof that the Galaxy Tab 7.0 and Galaxy Tab 10.1 infringed

19 claims of the ‘607 patent. (See, e.g., id. at 22-23 (using SEM Report photographs to purportedly

20 show that the Galaxy Tab 10.1 has “electrically isolated” conductive lines that are transverse to

21 each other, an element of a claim of the ‘607 patent).)

22          Even though the SEM Reports are responsive to numerous discovery requests (see, e.g.,
23

24      1
           Samsung’s motion is filed in reliance on the eventual formal stipulation of dismissal of
   certain claims, pursuant to Apple’s Statement Identifying Claims It Will Assert at Trial. (Dkt. No.
25
   907 (filed May 7, 2012).) Other Apple experts rely on undisclosed materials and assert novel
26 theories in their reports, but those experts’ opinions are for claims that Apple states that it intends
   to “drop.” If, however, Apple does not “drop” those claims, as it has indicated, Samsung reserves
27 the right to revise this motion to seek preclusion of any additional report that improperly asserts an
   opinion.
28

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 1 Ward Dec., Ex. B (RFP Nos. 47(d), 97, 122, 123, 127)), nowhere in any of its disclosures or

 2 discovery responses did Apple ever mention SEM Reports. Apple also failed to disclose the SEM

 3 Reports in its Infringement Contentions. Indeed, even as late as March 9, 2012 – one day after the

 4 close of fact discovery and the date that appears on the SEM Reports – Apple served corrected

 5 amended interrogatory responses to Samsung’s Interrogatory Nos. 16 and 18, which still did not

 6 disclose the existence of the SEM Reports. (Ward Dec., Ex. E (Apple’s Corrected Amended

 7 Objections and Responses to Samsung’s Interrogatory Nos. 4, 6, 7, 16, 17, 18 (dated March 9,

 8 2012).)

 9                  2.     Mr. Peter Bressler

10           Mr. Bressler’s March 22 report on infringement opines on the “context of [the patents], the
11 progression of the designs preceding and following the designs. . . and the state of the art both

12 before and after filing each of the [] patents.” (Ward Dec., Ex. F (Bressler Infringement Report at

13 ¶ 16).) The devices that Mr. Bressler and Apple consider to be commercial alternatives are the

14 central thrust of his report, and form the basis for any opinion that Apple’s products are not

15 designed based on functionality. (See, e.g., id. at ¶ 51 (“[N]umerous alternative designs to the

16 patented D’889 design were and are commercially available. Because these alternative designs

17 were commercially released, they show that the D’889 design is not required for a tablet, and that

18 there are multiple designs for a functioning tablet”).) Samsung’s RFP No. 127 sought “[a]ll

19 DOCUMENTS and things relating to APPLE’S analysis, consideration, or evaluation of whether

20 any SAMSUNG product, device, apparatus, method, process, or system infringes any of the

21 APPLE IP, including, without limitation, all documents and things concerning any test, evaluation,

22 or reverse engineering of any SAMSUNG product, device, apparatus, method, process, or system.

23 (Ward Dec., Ex. B.) Yet Apple never disclosed numerous devices during discovery that Mr.

24 Bressler considered to be adequate for comparison, including:

25           •      Coby Kyros (Id. at ¶¶ 51, 358);
26           •      Sony Reader (Id. at ¶ 56);
27           •      Freescale smartbook concept (Id. at ¶¶ 56, 360);
28           •      Panasonic Toughbook Tablet (Id. at ¶¶ 56, 360);

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 1          •      Panasonic Toughpad (Id. at ¶¶ 56, 360);

 2          •      T-Mobile My-Touch (Id. at ¶¶ 68, 81, 341);

 3          •      Ematic Touch Screen MP3 Video Player (Id. at ¶ 81);

 4          •      Coby MP826 (Id. at ¶ 92);

 5          •      Memorex TouchMP (Id. ¶ 92); and

 6          •      All Samsung devices other than the Samsung M7600 Beat DJ and Samsung F700.

 7 (See also, e.g., id. at ¶¶ 64-67, 77-80, 89-91, 338-340, and 342-344 (conducting comparisons

 8 based on these products).) Apple never disclosed any of these devices to Samsung, nor did it

 9 amend any of its discovery responses in order to provide a proper basis for its expert’s opinion.

10          In addition, Interrogatory No. 72 required Apple to state fully and in detail all facts

11 supporting its contention of design patent infringement. (Ward Dec., Ex. G (Samsung’s Fourth

12 Set of Interrogatories to Apple, Feb. 7, 2012).) Apple responded by copying and pasting pictures

13 of the accused devices next to figures of the design patents, and stating that the accused devices

14 are substantially the same. (Ward Dec., Ex. H (Apple’s Objections and Responses to Samsung’s

15 Fourth Set of Interrogatories, Mar. 10, 2012, at 94-151).) Mr. Bressler, however, now relies on

16 new theories. First, Mr. Bressler cites product reviews and evidence that allegedly show consumer

17 confusion, even though consumer confusion and these reviews were never disclosed in response to

18 Interrogatory No. 72. (See Ward Dec., Ex. F, at ¶¶ 104, 136.) Second, Mr. Bressler identifies

19 differences between the asserted design patents and prior art cited by Samsung, notwithstanding

20 Apple’s failure to disclose its intention to rely on such a comparison. (See id. at ¶¶ 110-127, 141-

21 143, 191-193, 255-259.) Third, Mr. Bressler articulates a detailed description of alleged design

22 patent elements, purportedly embodied in Apple products, that appears nowhere in Apple’s

23 response to Interrogatory No. 72. (See id. at ¶¶ 34, 60, 73, and 86.)

24                 3.      Dr. Susan Kare

25          Apple retained Dr. Kare to opine on possible alternative designs to Apple’s design patents.
26 Much like Mr. Bressler, Dr. Kare’s report relies on the use of alternatives to argue “there are

27 stylistic options that do not mirror the styles” of Apple’s products, to reach her conclusion that

28 Apple’s products are not designed based on functionality. (Ward Dec., Ex. I (Kare Report, Mar.

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 1 22, 2012, at 47; see also id. at 16-47 (conducting comparisons between alternative designs and

 2 Apple’s products and trade dress).) Samsung’s interrogatories clearly requested that Apple “fully

 3 and in detail [state] all facts that support YOUR contention as to the non-functionality of any

 4 claimed feature, element, or combination of features and elements.”              (Ward Dec., Ex. G

 5 (Interrogatory No. 68).) Yet Apple never produced or disclosed any of the following devices that

 6 Dr. Kare relies upon:

 7          •      Sony Experia Arc S (Id. at ¶ 45);

 8          •      Sony Xperia Neo V (Id. at ¶ 46 & Ex. 9);

 9          •      Blue Bee concept (Id.);

10          •      Synaptics FuSE (Id.);

11          •      Pantech Pocket (Id.);

12          •      MeeGo concept (Id., Ex. 10); and

13          •      KDDI Infobar (Id.)

14          Dr. Kare’s report also refers to a “Camera” icon, noting that the image is the subject of

15 U.S. Trademark Reg. No. 3,983,841, even though that trademark is not asserted in Apple’s

16 Amended Complaint, and she argues that, “at a glance, the overall similarities between [Apple’s

17 icons and Samsung icons] is evident.” (Ward Dec., Ex. I at ¶ 53, 54 and 62.)            Dr. Kare also

18 discusses Samsung icons that Apple has never before identified as being subject to a trademark or

19 trade dress claim. (See id. at ¶¶ 63 and 64 (examining Apple and “Samsung icons for the Gmail

20 (or Google Mail), Email, [] Talk” and “Clock” applications noting an “overall visual similarity”

21 between them).) Samsung’s Interrogatory Nos. 70-71 requested that Apple, for all Apple trade

22 dress and Apple trademarks “state fully and in detail all facts that support YOUR contention that

23 SAMSUNG is diluting or has diluted such trade dress,” as well as “all facts that support YOUR

24 contention that the SAMSUNG product or product packaging is likely to cause confusion, cause

25 mistake, or deceive consumers as to the affiliation, connection, or association of SAMSUNG with

26 APPLE, or as to origin, sponsorship, or approval by APPLE of SAMSUNG’S goods, services or

27 commercial activities.” (Ward Dec., Ex. G.)         Apple never identified any of these icons as being

28 disputed, and indeed never noted them at all until Dr. Kare’s report.

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 1                 4.      Dr. Sanjay Sood

 2          Dr. Sood’s report expresses opinions regarding the importance of design in driving

 3 consumer choice and in particular the importance of the design of Apple products in driving

 4 purchasing decisions even though consumers might not identify design as an important factor.

 5 (See Ward Dec., Ex. J (Sood Report, Mar. 22, 2012, at ¶¶ 12-30 and 63-64). These opinions are

 6 no doubt intended to address the fact that Apple’s own internal consumer market research shows

 7 that design is not an important factor in purchasing decisions. To support his opinions, Dr. Sood

 8 relies heavily on surveys he conducted concerning consumer purchases of basic household items,

 9 such as tape dispensers and wall clocks. (See, e.g., id. at ¶ 21 (“[W]e asked consumers two sets of

10 questions that were designed to test directly and indirectly whether they felt that “design” justified

11 purchase decisions.”).) Dr. Sood admitted that the form and content of the questions asked can

12 have an effect on the results. (See Ward Dec., Ex. K (Depo. Tr. of Sanjay Sood, Apr. 20, at

13 155:25-156:3 (“Q. And so the form of the question is really very important in terms of formulating

14 a survey? A. Definitely. That’s what I struggle with all the time when I’m designing surveys.”).)

15 Yet Apple has never produced either the questions in the survey questionnaires or the

16 questionnaires themselves. (Id. at 167:5-68:3 (noting that he had not obtained or produced the

17 surveys on which he bases his opinions).) Without the survey questionnaires and responses,

18 Samsung is greatly prejudiced in its ability to challenge Dr. Sood’s opinions regarding the

19 importance of design as driver of consumer choice and his application of those opinions to the

20 products at issue in this lawsuit.

21          Apple’s disclosures and discovery responses do not identify these materials, nor did Apple

22 ever inform Samsung that its expert would rely on them.

23                 5.      Dr. Tony Givargis

24          Dr. Givargis’s March 22 Invalidity Report cites a document that was not disclosed in
25 Apple’s Invalidity Contentions. Specifically, when attempting to explain how Samsung’s ‘711

26 patent is invalid based on obviousness, he cites a document he refers to as a “Tutorial.” (See Ward

27 Dec., Ex. L (Givargis Invalidity Report at ¶ 127 (citing “J2ME Tutorial,” found at APLNDC-WH-

28 A0000025002)); Ex. M, (Depo. Tr. of Tony Givargis of April 23, 2012 at 122:7-124:10; 137:24-

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 1 140:20).) Dr. Givargis uses this so-called “Tutorial” to characterize prior art allegedly disclosed in

 2 documents that were properly listed in Apple’s Invalidity Contentions. For example, although the

 3 document at APLNDC-WH0000006738 (the “Mahmoud article”) discloses a technology known

 4 as Java “Midlets” (See APLNDC-WH0000006738), Dr. Givargis continually characterizes the

 5 Mahmoud article as disclosing the use of Java Applets. (See, e.g., Ward Dec., Ex. L, at ¶ 148

 6 (“[T]he Mahmoud article…disclose[s] use of applets[.]”).) Indeed, Dr. Givargis makes similar

 7 characterizations throughout his Invalidity Report and through his deposition testimony. (See,

 8 e.g., Ward Dec., Ex. M, at 122:7-9; 140:13-20; Ex. L at ¶¶ 97, 127, 136, 148, 150, 164, 167, 168,

 9 169, 170, 171, 174,183, 184, 185, 188, 191, 222, 231, 253, 260, 288, 295, and 324).) The only

10 documentary evidence supporting Dr. Givargis’s assertion that the Mahmoud article discloses the

11 use of Java Applets is this late disclosed document. (See Ward Dec., Ex. M, at 122:15-18.)

12          Yet, this document was never listed anywhere in Apple’s Invalidity Contentions on the

13 ‘711 patent, despite the fact that the contentions list many other materials. (See Ward Dec., Ex. N,

14 at 37-38 (listing references for the ‘711 patent).) Dr. Givargis was retained approximately two

15 months before Apple’s Invalidity Contentions were served, and Apple failed to identify this

16 document. (Ward Dec., Ex. O (Depo. Tr. of Tony Givargis of Dec. 6, 2011, at 21:21-22:2).) Nor

17 did Apple or Dr. Givargis identify this document during the parties’ claim construction

18 proceedings regarding the term “applet.”

19                 6.      Dr. Ravin Balakrishnan

20          The ‘381 patent covers the “bounceback” feature, where the screen appears to “bounce”
21 when a user attempts to scroll past the edge of the viewable area of an electronic document on the

22 display. (Ward Dec., Ex. P (Balakrishnan Report, March 22, 2012, at ¶ 45).) Dr. Balakrishnan

23 examined 27 Samsung products to determine whether they infringed the ‘381 patent.                 Dr.
24 Balakrishnan’s product examination was one of the primary bases for his conclusions as to

25 whether Samsung’s products infringed the ‘381 patent, and the only physical inspection of devices

26 that took place.     (Id. at ¶¶ 14-19.)   Apple has refused to make these devices available for
27 inspection. (See Ward Dec., Ex. Q (Letter, Patel to Mazza, May 6, 2012 (noting that Apple has

28 never permitted Samsung to inspect the devices Dr. Balakrishnan used to formulate his opinions).)

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 1          Apple’s damages expert, Terry Musika, relies on Apple’s production of licensing

 2 information to opine on Apple’s reasonable royalty damages. Mr. Musika also relies on Apple

 3 licensing information in his rebuttal report, to criticize the reasonably royalty rate conclusions of

 4 Samsung’s damages expert, Dr. Vincent O’Brien. (Ward Dec., Ex. T (Musika Report, March 22,

 5 2012, at ¶¶ 169-80); Ex. U (Musika Rebuttal Report, Apr. 16, 2012, at ¶ 29, 43-45, 69-69).) Yet

 6 Apple failed to timely produce the licensing information which underlies Mr. Musika’s opinions;

 7 obstructed Samsung’s discovery efforts into Apple’s licensing practices; and cherry picked the

 8 licensing information that Mr. Musika relies on.

 9          Samsung made extraordinary efforts to obtain all relevant licensing agreements from

10 Apple. Samsung’s RFPs required the production of, among other things:

11          •      “All DOCUMENTS relating to or evidencing any Licenses, or the negotiation
                   thereof, relating to the APPLE ACCUSED PRODUCTS or the technology claimed
12                 or disclosed by the SAMSUNG PATENTS-IN-SUIT.”
13          •      “All licenses in which You have received or conveyed rights under a patent relating
                   to the APPLE ACCUSED PRODUCTS.” (Ward Dec., Ex. B (RFP No. 9); id.
14                 (RFP No. 11).)2
15          Apple has produced eight inconsistent versions of “licensing charts,” purporting to show
16 (a) Apple’s payments pursuant to licenses related to its iPhone, iPad, and iPod products, (b) the

17 identity of the licensors, and (c) brief descriptions of the technology involved. The charts fail to

18 identify whether the license is a patent license, trademark license, other license, or combination

19 thereof. The first two charts Apple produced, on February 5 and 16, 2012, respectively, were

20 similar but contain no information about the iPod. (May 17, 2012 Price Declaration (“Price

21 Dec.”) at ¶¶ 2, 7; Ex. N (Apple Privilege Log); Exs. K and L (redacted versions of Feb. 5 and 16

22 charts).) This was the version of the licensing chart available to Samsung when it deposed

23

24
        2
           Samsung also served Interrogatory No. 6, which requires identification of “any and all
25
   persons to whom YOU have ever licensed or offered to license, or persons who have requested to
26 license, or to whom YOU have granted or offered to grant any other rights under the patent, trade
   dress, or trademark, including the status of those requests and offers, whether continuing,
27 successful, or terminated, and identify (by Bates number) all DOCUMENTS RELATED to any
   such license, offer, request, or other grant of rights.” (Ward Dec., Ex. C (Interrogatory No. 6).)
28

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 1 Apple’s Rule 30(b)(6) witness on certain licensing issues and royalty payments, Mark Buckley, on

 2 February 23. At that time, Apple had not produced most of its patent license agreements; instead

 3 waiting until March 2 and March 8 to produce them. (Price Dec., at ¶¶ 2-3.)

 4          On March 8, 2012, the day fact discovery closed, Apple produced a dramatically different

 5 series of licensing charts, which more than doubled the number of licensors, added hundreds of

 6 millions of dollars in payments for 2011Q2 through 2012Q1, added hundreds of millions of

 7 dollars in iPhone and iPad payments for the same time periods covered by the earlier versions, and

 8 added licensing and royalty information for the iPod. (Price Dec., at ¶ 5; compare Ex. K (redacted

 9 Feb. 5 chart) and Ex. L (redacted Feb. 16 chart) with Ex. M (redacted “replacement” chart

10 produced on April 11, 2012).)

11          Then, on March 13, 2012, just eight days before opening expert reports were due, Apple

12 clawed back all of its licensing charts, claiming privilege and third-party confidentiality. (Price

13 Dec., Ex. G (Letter, Mazza to Jenkins, March 13, 2012).) Two days later, on March 15, 2012,

14 Apple produced yet another series of licensing charts. And, on the evening of March 21, 2012—

15 the night before opening expert reports were due—produced yet another “superseding” series of

16 replacement charts. (Id., Ex. I (Letter, Mazza to Hutnyan, March 21, 2012).)

17          On April 11, 2012, Apple decided to claw back the March 21 charts and produce yet

18 another series of licensing charts—six weeks after its Rule 30(b)(6) witness’s deposition, one

19 month after the close of discovery, and three weeks after Samsung served its opening damages

20 report. (Id., Ex. J (April 11, 2012 email from Mia Mazza).) That same day, Apple served, for the

21 first time, a privilege log for the clawed back licensing charts. (Price Decl., ¶ 7, Ex. N.)

22          All told, Apple has produced eight sets of licensing charts, of which six were produced

23 after the close of fact discovery and after the deposition of Apple’s licensing witness, and five of

24 which have been clawed back by Apple. (Id.) Despite repeated requests, Apple refused to make

25 its Rule 30(b)(6) licensing witness available to address these late produced, inconsistent, and

26 ambiguous charts. (Price Dec., at ¶ 4, Exs. B at 2, E at 3, F at 3.)

27          By its own admission, Apple has also refused to produce all of the licenses identified in the

28 licensing charts. (Ward Dec., Ex. T, at ¶ 43.) This refusal was recently repeated by Apple’s

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 1 counsel at Dr. O’Brien’s deposition: “In fact, Apple has told you they produced all the patent

 2 licenses on the royalty report” and “you are aware that Apple has informed Samsung that the

 3 licenses that were not produced are licenses that consist of software licenses, licenses, technology

 4 licenses?” (Price Dec., Ex. O, at 177:8-9, 170:19-22.) Apple refuses to produce non-patent

 5 licenses – which it implicitly concedes are related to the Accused Products by identifying them on

 6 its licensing charts – even though Mr. Musika relies on one such license in his reasonable royalty

 7 analysis.3

 8          Despite its counsel’s representations on the record, it is also clear that Apple has failed to

 9 make a full production of patent licenses related to the Accused Products. On May 9 and 11, 2012

10 – over two months since Mr. Buckley’s deposition and the close of fact discovery, and almost one

11 month since expert rebuttal reports – Apple produced four additional patent license agreements,

12 two of which were relied on by Mr. Musika and two of which Apple had not even provided to

13 him. (Price Dec., at ¶¶ 9-10, Exs. P, Q, R, and S.) Then, on May 15, 2012, Apple produced six

14 more patent licenses that had been listed on Apple’s licensing charts. (Id., at ¶ 11, Exs. Y-DD.)

15          Even with these grossly belated disclosures, however, Apple’s production is still

16 incomplete. According to media accounts, Apple entered into patent license agreements with Cliff

17 Island LLC and/or Digitude Innovations, transferring up to a dozen patents from Apple to

18 Digitude. This includes at least two feature patents related to the Accused Products, U.S. Patent

19 No. 6,208,879 (Mobile Information Terminal Equipment and Portable Electronic Apparatus) and

20 U.S. Patent No. 6,456,841 (Mobile Communication Apparatus Notifying User Of Reproduction

21 Waiting Information Effectively).4 These accounts are confirmed by Apple’s productions,

22

23
        3
            In his expert report, Terry Musika relies on “Made for iPod” licenses (which includes
24 software licenses and the rights to use the iPod logo) to determine a reasonably royalty for Apple’s
   purported damages. (Ward Dec., Ex. T, at Exhibit 3, at 15.) These licenses are attached to the
25
   Price Declaration as Exs. FF and GG.
       4
26         “Apple Made A Deal With The Devil (No, Worse: A Patent Troll)”, accessed on May 10,
   2012 at http://techcrunch.com/2011/12/09/apple-made-a-deal-with-the-devil-no-worse-a-patent-
27 troll/; “Apple partners with patent troll Digitude Innovations — and wow, what a deal”, accessed
   on May 10, 2012, at http://venturebeat.com/2011/12/10/apples-patents-digitude-innovations/.
28

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 1                                                             . (Price Dec., Exs. U and V.) Indeed,

 2 Apple’s latest licensing chart identifies Digitude as a licensor to whom Apple has paid over

 3            for technologies related to the iPad and iPod. Yet Apple conspicuously omits from the

 4 licensing chart any description of the technology involved in the licenses. (Id.; Ex. M at 19, 21,

 5 23, 25, 27, 29, 31, 33, 35.) Apple has still failed to produce these agreements.

 6

 7

 8

 9

10                                                              (Id., Ex. V at 1.) Although Apple has

11 produced a draft, it has not produced the final agreement. (Id., Ex. W.)

12                         (b)    Manufacturing Capacity

13          Mr. Musika also relies on summary tables prepared by Mark Buckley, Apple’s Rule
14 30(b)(6) witness on manufacturing capacity. Mr. Musika uses these tables in his lost profits

15 analysis purportedly to show that Apple could meet additional demand for its iPhones and iPads.

16 (Ward Dec., Ex. T, at Exhibit 3, at 45 (citing manufacturing capacity tables, listed as exhibits 15

17 and 16 to Mark Buckley Deposition).) But despite numerous requests, Apple has refused to

18 produce the documents underlying Mr. Buckley’s tables. (See May 17, 2012 Declaration of Diane

19 C. Hutnyan, at ¶¶ 2-3.) These tables, by Mr. Buckley’s admission, were compiled by pulling

20 information from various documents and are the product of the “expertise” of the people in

21 Apple’s “operations finance” team. (See Ward Dec., Ex. V (Depo. Tr. of Mark Buckley, Feb. 23,

22 2012, at 179:3-18; 198:12-18).) Apple has not produced these materials, nor has their underlying

23 factual basis been disclosed to Samsung.

24                 8.      Russell Winer
25          In Sections VII through X of his March 22, 2012 report, Dr. Winer offers numerous
26 opinions on Apple’s trade dress, including fame and distinctiveness (Sections VII and VIII),

27 likelihood of infringement (Section IX) and likelihood of dilution (Section X). But the opinions

28 he offers are based on facts and theories that were not disclosed in response to Samsung’s

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 1 contention interrogatories on these very same issues.

 2          For example, Interrogatory No. 71 sought all “facts that support YOUR contention that the

 3 SAMSUNG product or product packaging is likely to cause confusion, cause mistake, or deceive

 4 consumers as to the affiliation, connection, or association of SAMSUNG with APPLE, or as to

 5 origin, sponsorship, or approval by APPLE of SAMSUNG’S goods, services or commercial

 6 activities.” (Ward Dec., Ex. G.) Although Apple’s responses never disclosed that it would do so,

 7 Dr. Winer advanced the following theories and alleged facts to support his opinions on trade dress

 8 infringement:

 9          •      Consumers’ post-sale personal experiences with and public exposure to Apple
                   products. (Ward Dec., Ex. W (Winer Report at ¶¶ 101, 105, 107, 108, 141 and
10                 143).)

11          •      Samsung research and other internal Samsung documents purportedly showing the
                   strength of the Apple trade dress, in connection with first Sleekcraft factor. (Id. at
12                 ¶¶ 92, 110, 140 and 145.)

13          •      Competition between Samsung and Apple products for the same market share, in
                   connection with the second Sleekcraft factor. (Id. at ¶¶ 96, 111, 112, 114-116, 147-
14                 151.)

15          •      Alleged instances of consumer confusion, in connection with the third and fourth
                   Sleekcraft factors (Id. at ¶¶ 154 and 157.)
16
            •      Marketing and sale of Samsung and Apple products in the same channels, including
17                 retail stores where both Samsung and Apple products are sold, and the relative
                   placement of Apple and Samsung products in stores and on websites, in connection
18                 with the second and fifth Sleekcraft factors. (Id. at ¶¶ 123, 124, 158 and 159.)

19          •      Product price and the sophistication of and degree of care exercised by consumers,
                   in connection with the sixth Sleekcraft factor. (Id. at ¶¶ 127-130 and 160.)
20
            •      Details regarding the look of Samsung phones and tablets prior to the release of the
21                 Galaxy line of smartphones and tablets, and internal Samsung documents
                   referencing the iPhone and iPad, in connection with the seventh Sleekcraft factor.
22                 (Id. at ¶¶ 132 -138 and 163-165.)

23          Similarly, although Interrogatory No. 70 required Apple to identify all facts that supported

24 its “contention that SAMSUNG is diluting or has diluted such trade dress,” Dr. Winer puts forth

25 facts and theories that were never disclosed to support his opinions on trade dress dilution:

26          •      Consumers’ post-sale interactions with Apple products, in connection with second
                   and fourth likelihood of dilution factor. (Id. at ¶¶ 171 and 181.)
27
            •      Samsung research and other internal Samsung documents purportedly showing
28                 recognition of the Apple trade dress, in connection with the fifth likelihood of

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 1                  dilution factor. (Id. at ¶¶ 174 and 184.)

 2          •       Alleged instances of consumer confusion, in connection with the sixth likelihood of
                    dilution factor. (Id. at ¶ 185.)
 3
            Finally, Dr. Winer offers facts and theories to support his opinions regarding consumer
 4
     recognition and fame of the trade dress, including internal Apple research regarding the purported
 5
     importance of the appearance and design of Apple products to consumers (id. at ¶¶ 83-86.) and
 6
     internal Samsung documents that purportedly show an intent to copy. (Id. at ¶ 92.) Yet Apple
 7
     never disclosed these facts or theories, despite the clear language of Samsung’s Interrogatory No.
 8
     69, which requested “the date on which YOU contend such trade dress and trademark became
 9
     famous and acquired secondary meaning and state fully and in detail all facts that support YOUR
10
     contention that such trade dress and trademark became famous and acquired secondary meaning as
11
     of that date.” (Ward Dec., Ex. G.)
12
            C.      Apple’s Experts Assert Undisclosed Theories on Infringement
13
            In addition to citing undisclosed facts as support for their opinions, Apple’s experts have
14
     asserted entirely novel positions on the alleged patent infringement of Samsung’s products and the
15
     supposed invalidity of Samsung’s patents, presenting opinions that never appeared in its August
16
     26, 2011 Infringement Contentions or its October 10, 2011 Invalidity Contentions.
17
                    1.     Dr. Michel Maharbiz
18
            Apple is asserting claim 8 of the ‘607 patent against Samsung. (See Dkt. No. 907 (Apple’s
19
     Statement Identifying Claims It Will Assert at Trial, at 2).) This claim requires a “virtual ground
20
     charge amplifier.” In its Infringement Contentions for claim 8, Apple merely asserted that “the
21
     specific circuit elements performing this [virtual ground charge amplifier] function will be
22
     identified in discovery.” (Ward Dec., Ex. A (Ex. 17).) During the course of discovery and to this
23
     day, Apple has never sought leave to amend its Infringement Contentions to identify any circuitry
24
     that corresponds to the “virtual ground charge amplifier” limitation in claim 8.
25
            In his expert report, Dr. Maharbiz alleges for the first time that the accused Samsung
26
     products infringe claim 8 of the ‘607 patent because they include “a form of charge/current
27
     integration” in connection with the touchscreens. (Ward Dec., Ex. D, at ¶ 67.) Dr. Maharbiz also
28

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 1 cites to documentation produced by third-party Atmel during the course of fact discovery, as well

 2 as deposition testimony from an Atmel employee. The Atmel documentation and deposition

 3 testimony Dr. Maharbiz relies upon were not contained in Apple’s contention disclosures and

 4 Apple never sought leave to amend its Infringement Contentions to identify the Atmel

 5 documentation or testimony.

 6                 2.     Dr. Tony Givargis

 7         Dr. Givargis’s Non-Infringement Report states that Apple’s devices do not infringe

 8 Samsung’s ‘711 patent because the Apple products lack an MP3 mode. (Ward Dec., Ex. X

 9 (Givargis Non-Infringement Report, Apr. 16, 2012, at ¶¶ 14-16, 27-28, 30, 62-63, 64, 65).)

10 Further, although not expressed in Dr. Givargis’s Non-Infringement Report, Dr. Givargis testified

11 that the devices do not infringe because they lack a standby mode. (See Ward Dec., Ex. M, at

12 201:17-202:11 and 226:7-227:17.)

13         Dr. Givargis opines that rather than having standby and MP3 modes, the Apple devices

14 transition from the “springboard module” or “springboard application” to a music playing

15 application.    (See id. at 225:25-230:6).)       Dr. Givargis explains that the “springboard

16 module”/springboard application” is a standalone application presenting an array of icons that

17 represents an application. (Ward Dec., Ex. X, at ¶¶ 14-16, 27-28, 30, 62-63, 64, 65.) Further,

18 according to Dr. Givargis, the Apple devices do not have a MP3 mode, but achieve music

19 playback through the music application. (Ward Dec., Ex. M, at 228:22-229:5.) The presence of

20 the “springboard” and the absence of an “MP3 mode” and “standby mode” then, are part of Dr.

21 Givargis’s effort to differentiate between the accused Apple products and Samsung’s ‘711 patent.

22 But in his deposition, Dr. Givargis admitted that Apple’s response to Samsung’s Interrogatory

23 regarding non-infringement contentions does not make any reference to “MP3 modes” or

24 “springboard modules.” (Id. at 188:21-89:13.)

25         In short, Apple’s experts have asserted opinions based on facts that were never disclosed in

26 seven months of discovery.

27 III.    ARGUMENT AND CITATION OF AUTHORITY
28         A.      Apple’s Nondisclosure of Critical Facts Violates the Federal Rules of Civil

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 1                 Procedure and the Case Management Order
 2          Apple’s failure to produce or disclose facts upon which its experts rely, and its failure to

 3 adhere to its announced theories on infringement and invalidity, violate the Federal Rules of Civil

 4 Procedure, the Patent Local Rules, and the Court’s Scheduling Order. See, e.g., Fed. R. Civ. P.

 5 26(a)(1)(A)(ii); Fed. R. Civ. P. 26(e).

 6          It is axiomatic that any nondisclosure of facts is a violation of the Federal Rules of Civil

 7 Procedure. See, e.g., Fed. R. Civ. P. 26(a)(1)(A)(ii); Fed. R. Civ. P. 26(e). A party that “fails to

 8 provide information . . . as required by Rule 26(a) or (e) . . . is not allowed to use that information

 9 or witness to supply evidence on a motion, at a hearing, or at a trial.” Fed. R. Civ. P. 37(c)(1).

10 Failure to obey a Case Management Order is also improperwhen the Order requires the parties to

11 complete fact discovery and disclosure of all infringement theories by a date certain (i.e., the fact

12 discovery cutoff date) especially in a case like this one where Apple has insisted on an expedited

13 schedule. See Von Brimer v. Whirlpool Corp., 536 F.2d 838, 843 (9th Cir. 1976) (finding that

14 district court properly excluded evidence under Fed. R. Civ. P. 37(b)(2) for failure to comply with

15 pre-trial orders); Guifu Li v. A Perfect Day Franchise, Inc., 2012 WL 929784, at *18-19 (N.D.

16 Cal. Mar. 19, 2012) (precluding parties from introducing at trial documents requested during the

17 course of discovery that were not produced by the discovery cut-off date). Indeed, courts do not

18 hesitate to punish a party that sandbags their opponent with new and undisclosed facts by

19 precluding the offending party from using the challenged portions of a report, or even by striking

20 the an entire report, irrespective of its importance. See, e.g., Yeti by Molly, Ltd. v. Deckers

21 Outdoor Corp., 259 F.3d 1101, 1106 (9th Cir. 2001) (it was not an abuse of discretion to exclude

22 an improperly disclosed expert report, even where “the district court made it much more difficult,

23 perhaps impossible for [the sanctioned party] to rebut [the other party’s] damages calculations”).

24          Unsurprisingly, improper expert disclosures are prejudicial and harmful, turning discovery

25 into a game of “blind man’s bluff.” Failure to disclose an expert witness or provide the required

26 information can result in exclusion of the expert witness “unless the failure was substantially

27 justified or is harmless.”    Fed. R. Civ. P. 37(c)(1); Dominguez v. Excel Mfg., Inc., 2010 WL

28 5300863, at *5 (N.D. Cal. Dec. 20, 2010). Rules 37(b) and (d) apply these preclusive sanctions

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 1 equally where a party has failed to sufficiently answer interrogatories.            Fed. R. Civ. P.

 2 37(b)(2)(A), 37(d)(1). In addition, the Court’s Case Management Order required Apple to submit

 3 its Initial Disclosures and Infringement Contentions on August 26, 2011, and complete all fact

 4 discovery by March 8, 2012. Failure to comply with a Case Management Order may result in

 5 Rule 37 sanctions. See Von Brimer, 536 F.2d at 843; Guifu Li, 2012 WL 929784, at *18-19.

 6          During the seven months of discovery in this case, Apple has failed to identify, produce, or

 7 disclose many materials relied upon by its experts, including facts, witnesses, documents, or

 8 things. Instead, Apple waited until the deadline for its expert reports – well after the close of fact

 9 discovery – to ambush Samsung with new evidence and studies that it has concealed for strategic

10 gain.    Because of Apple’s gamesmanship, Samsung has had no meaningful opportunity to

11 investigate or respond to these improperly assertions of undisclosed facts, so any opinion that

12 relies on them should be stricken.

13          For example, the portions of Dr. Maharbiz’s report that rely on SEM Reports are entirely

14 improper and illustrate why opinions based on undisclosed facts should be stricken. Not only did

15 Apple fail to disclose that its expert would rely on such reports, it failed to disclose the very

16 existence of these Reports, the underlying facts, and the results. These Reports were generated by

17 a third-party, Evans Analytical Group.         Samsung and its expert, however, never had an

18 opportunity to inspect the site where the testing took place, the Samsung devices that were

19 allegedly tested, the equipment used during testing, whether such equipment was properly

20 calibrated, etc. Nor did Samsung have an opportunity to depose the author(s) of the SEM Reports

21 or the individuals that conducted the tests to determine if they were properly qualified and

22 performed the testing with proper equipment and under proper conditions. The nondisclosure of

23 the SEM Reports evidences a complete disregard for Rule 26 obligations, and places Samsung at a

24 substantial disadvantage by having no meaningful opportunity to test the validity of those Reports.

25          The SEM Reports and all of the underlying facts and analyses are clearly responsive to at

26 least Samsung RFP No. 127, which seeks “[a]ll DOCUMENTS and things relating to APPLE’S

27 analysis, consideration, or evaluation of whether any SAMSUNG product, device, apparatus,

28 method, process, or system infringes any of the APPLE IP, including, without limitation, all

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 1 documents and things concerning any test, evaluation, or reverse engineering of any SAMSUNG

 2 product, device, apparatus, method, process, or system.” (Ward Dec., Ex. B.) The SEM Reports

 3 and all of the underlying facts and analyses are also responsive to Samsung’s Interrogatory No. 16,

 4 which sought information concerning any infringement analysis conducted on Samsung’s

 5 products. (See Ward Dec., Ex. C.) The Court’s Case Management Order established March 8,

 6 2012 as the deadline for the completion of fact discovery, and the fact that Apple’s consultant

 7 conveniently dated the Reports March 9 does not alter Apple’s disclosure obligation. Apple

 8 should have disclosed the SEM Reports as part of fact discovery in accordance with the Federal

 9 Rules of Civil Procedure and the Court’s Case Management Order.

10          A complete response to RFP No. 127 or compliance with Rule 26(e) would have mandated

11 disclosure of the undisclosed materials relied upon by Apple’s other experts as well. Mr. Bressler,

12 for example, relies on examples of “alternative devices” to substantiate his opinions. (See Ward

13 Dec., Ex. F, at 16-47 (conducting comparative analysis).) As such, these materials should have

14 been disclosed well before the close of discovery. Apple’s failure to do so was improper, and

15 those portions of the reports that rely on these alternatives should be stricken, as should those

16 similarly offending portions of the expert reports identified in Part II.B. See, e.g., Avago Techs.

17 Gen. IP Ltd. v. Elan Microelectronics Corp., 2007 WL 2433386 (N.D. Cal. Aug. 22, 2007)

18 (striking portions of an expert report that “did not merely use [an] undisclosed reference to explain

19 other invalidating prior art, but also relied on the undisclosed reference itself”).

20          Finally, Apple’s refusal to timely and completely produce its licensing agreements is

21 frankly outrageous, and the haphazard, late, and inconsistent character of Apple’s licensing

22 disclosures violate discovery rules. Apple’s flagrant discovery abuse has deprived Samsung of its

23 ability to properly formulate its position on damages and rebut Mr. Musika’s opinions.

24          The rules governing discovery are clear: facts must be disclosed if they are to be relied

25 upon by experts, and failure to disclose facts properly and timely warrants remedial action by the

26 Court. Here, any opinion based on undisclosed facts meets that standard, and the Court should

27 excise the offending portions of Apple’s expert reports or strike them entirely.

28          B.      Apple’s Untimely Assertion of New Infringement Contentions Violates the

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 1                 Patent Local Rules, the Federal Rules of Civil Procedure, and the Court’s
 2                 Case Management Order
 3          The Patent Local Rules provide for a “streamlined mechanism to replace the series of

 4 interrogatories that accused infringers would likely have propounded in its absence. These rules

 5 require parties to crystallize their theories of the case early in litigation and to adhere to those

 6 theories once they have been disclosed. They provide structure to discovery and enable the parties

 7 to move efficiently toward claim construction and the eventual resolution of their dispute.” DCG

 8 Sys. v. Checkpoint Techs., LLC, 2012 WL 1309161 (N.D. Cal. Apr. 16, 2012) (Grewal, M.J.)

 9 (internal quotation omitted); MEMC Elec. Materials v. Mitsubishi Materials Silicon Corp., 2004

10 WL 5363616, at *4 (N.D. Cal. Mar. 2, 2004) (internal quotations omitted). “The overriding

11 principle of the Patent Local Rules is that they are designed to make the parties more efficient, to

12 streamline the litigation process, and to articulate with specificity the claims and theory of a

13 plaintiff’s infringement claims.” InterTrust Techs. Corp. v. Microsoft Corp., 2003 WL 23120174,

14 at *2 (N.D. Cal. Dec. 1, 2003). The Patent Local Rules “requir[e] both the plaintiff and the

15 defendant in patent cases to provide early notice of their infringement and invalidity contentions,

16 and to proceed with diligence in amending those contentions when new information comes to light

17 in the course of discovery.” O2 Micro Int’l Ltd v. Monolithic Power Sys., Inc., 467 F.3d 1355,

18 1365-66 (Fed. Cir. 2006).       Any deviation from the announced infringement and invalidity

19 contentions without an appropriate amendment under Rule 3-7 “deprives [the opposing party] of

20 the notice to which it [is] entitled.” Volterra Semiconductor Corp. v. Primarion, Inc., 796 F.

21 Supp. 2d 1025, 1043 (N.D. Cal. 2011).

22          Here, Dr. Maharbiz sets forth an entirely new and undisclosed infringement theory for

23 claim 8 of the ‘607 patent based on Atmel documentation and testimony that was not disclosed in

24 Apple’s Infringement Contentions.        Apple never sought leave to amend its Infringement

25 Contentions pursuant to Patent Local Rule 3-6 to include this theory. Accordingly, all portions of

26 Dr. Maharbiz’s expert report relating to this new theory of infringement should be stricken

27 pursuant to Patent Local Rule 3-1. Likewise, Dr. Maharbiz relies on a new interpretation of a

28 claim element and offers previously undisclosed support for this new interpretation. Additionally,

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 1 Dr. Givargis spends substantial time discussing “MP3 Modes” and “Springboard” and Dr. Winer

 2 provides an entirely new explanation for the secondary meaning of Apple’s products – yet these

 3 theories were clearly responsive to Samsung’s interrogatories. See supra Part II.C.

 4          This Court has consistently stricken infringement theories and claims asserted for the first

 5 time in expert reports. See, e.g., Monolithic Power Sys., Inc. v. O2 Micro Int’l Ltd., 2009 WL

 6 3353306, at *3 (N.D. Cal. Oct. 16, 2009) (striking newly asserted claims that were first raised

 7 outside the discovery period and without leave of the Court); Informatica Corp. v. Bus. Objects

 8 Data Integration, Inc., 2006 WL 463549, at *14 (N.D. Cal. Feb. 23, 2006) (striking new

 9 infringement claims because the standard for amendment of contentions was not met). It should

10 do so here as well.

11          C.      Apple’s Failure to Comply with the Federal Rules of Civil Procedure, the
12                  Patent Local Rules, and the Court’s Scheduling Order Is Neither Harmless,
13                  Nor Justified
14          Failure to provide the disclosures mandated by Fed. R. Civ. P. 26 can result in exclusion of
15 the expert witness “unless the failure was substantially justified or is harmless.” Fed. R. Civ. P.

16 37(c)(1); Dominguez, 2010 U.S. Dist. LEXIS 137582, at *5. Rules 37(b) and (d) apply these

17 preclusive sanctions equally where a party has failed to sufficiently answer interrogatories. Fed.

18 R. Civ. P. 37(b)(2)(A), 37(d)(1). The burden of proving an excuse is on the party facing sanctions.

19 See Yeti, 259 F.3d at 1107. The four factors courts consider in evaluating harmlessness and

20 justification are: “(1) prejudice or surprise to the party against whom the evidence is offered; (2)

21 the ability of that party to cure the prejudice; (3) the likelihood of disruption of the trial; and (4)

22 bad faith or willfulness involved in not timely disclosing the evidence.” Dominguez, 2010 U.S.

23 Dist. LEXIS 137582 at *5. Because all of these factors support Samsung’s motion, the portions of

24 Apple’s experts’ reports which rely upon and cite undisclosed facts or which assert novel

25 infringement or invalidity theories should be stricken.

26                  1.     Samsung Suffered Significant Prejudice from Apple’s Conduct
27          Apple’s patent licensing agreements are highly relevant to the Georgia-Pacific analysis.
28 Lucent Techs., Inc. v. Gateway, Inc., 580 F.3d 1301, 1326-32 (Fed. Cir. 2009). The Federal

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 1 Circuit has increasingly emphasized the importance of a full and rigorous evaluation of a party’s

 2 licensing agreements and practices to determining a reasonable royalty. In Lucent Technologies,

 3 580 F.3d at 1329, the court rejected a damages award based on a reasonable royalty rate analysis

 4 because the plaintiff failed to prove that the licenses underlying the analysis were “sufficiently

 5 comparable.” In ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860 (Fed. Cir. 2010), the Federal

 6 Circuit held that evidence of royalty rates from licenses that lacked a relationship to the claimed

 7 invention could not form the basis of a reasonable royalty calculation. The following year, the

 8 Federal Circuit rejected the “25% rule,” holding that “there must be a basis in fact to associate the

 9 royalty rates used in prior licenses to the particular hypothetical negotiations at issue in the case.”

10 Uniloc USA, Inc. v. Microsoft Corp., 632 F.3d 1292, 1317 (Fed. Cir. 2011).

11          Here, Apple’s haphazard, inconsistent, untimely and incomplete production of licensing

12 information – producing eight different versions of its licensing chart (of which five were clawed

13 back); failing to produce, timely or at all, all relevant licenses; and refusing to make its Rule

14 30(b)(6) licensing witness available for further deposition – has impaired Samsung’ ability to

15 undertake a full analysis of Apple’s comparable licenses and licensing practices. It has also

16 allowed Apple to “cherry pick” the data relied on by Mr. Musika, allowing him to rely on patent

17 and non-patent licenses beneficial to Apple, while shielding a fair and full inquiry into Apple’s

18 licensing agreements and strategies.

19          Regarding the other experts, had Apple properly amended its contention disclosures,

20 Samsung would not have been deprived of its right to conduct directed discovery and prepare for

21 trial with knowledge of Apple’s theory of the case. Instead, Apple has strategically used new

22 materials and shifted its contentions to gain a competitive edge. “There is a necessary element of

23 gamesmanship which applies in discovery, but parties must act in the spirit of discovery. The

24 parties’ mutual knowledge of all the relevant facts is a prerequisite for proper litigation.” Ash v.

25 Ford Motor Co., 2008 WL 1745545 (N.D. Miss. Apr. 11, 2008) (citing Dollar v. Long Mfg., N. C.,

26 Inc., 561 F.2d 613, 616 (5th Cir. 1977)).

27                 2.      Samsung Is Unable to Cure the Prejudice Caused by Apple’s Conduct

28          At this point in the case, Samsung can do nothing to cure the prejudice caused by Apple’s

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 1 concealment of facts and changing positions on infringement and invalidity. Samsung cannot now

 2 commission new expert reports to rebut Apple’s alleged findings.         Furthermore, as explained

 3 above, Samsung cannot now take discovery to verify the accuracy, reliability, and validity of the

 4 new facts and analyses contained within Apple’s expert reports. Nor can Samsung effectively

 5 alter its strategy, at this late date, to correspond to Apple’s entirely new infringement and

 6 invalidity contentions.

 7                 3.        Likelihood of Disruption of the Trial

 8          At Apple’s request, this case is proceeding under an accelerated schedule, with dispositive

 9 motions due on May 17, and trial set to begin on July 30. Discovery is complete and it is simply

10 too late for Samsung to take full discovery on undisclosed facts, conduct any of its own tests or

11 analyses based on these new materials, incorporate information learned into its experts’ opinions

12 and trial strategy, and prepare supplemental expert reports. Apple has known that the trial date

13 could not be disrupted, and failed to disclose its facts and contentions knowing Samsung would

14 not have the opportunity to respond. That the trial date cannot be changed emphasizes why there

15 is no way for Samsung to cure the prejudice caused by Apple’s late disclosures.

16                 4.        Apple’s Failure to Disclose Was Willful

17          Apple’s failure to substantively respond to Samsung’s discovery requests can only be
18 construed as purposeful concealment of critical evidence in bad faith. The undisclosed facts upon

19 which Apple relies are not new, and most have been available for some time. For example, Apple

20 concealed the very existence of the SEM Reports – allegedly completed one day after the close of

21 fact discovery – that Dr. Maharbiz relies upon in his report, despite every opportunity and

22 obligation to disclose them even after the cutoff.         Indeed Apple has produced hundreds of
23 thousands of pages after the cutoff. Mr. Musika relied on licensing agreements that Apple has

24 readily available in its licensing database, and on representations that Apple’s production of patent

25 licensing information was complete, when in fact it was not. Apple’s failure to disclose much of

26 the basis for its experts’ reports, as well as its decision to make last-minute changes regarding

27 infringement and invalidity theories were clearly “willful.”

28

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 1 IV.     CONCLUSION
 2         For the forgoing reasons, at least those portions of Apple’s expert reports that rely on

 3 undisclosed facts or assert novel theories, which are listed with particularity in Samsung’s

 4 accompanying Proposed Order, are improper, prejudicial, and should be stricken.

 5

 6

 7 DATED: May 17, 2012                      Respectfully submitted,

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